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                  IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF WEST VIRGINIA


 KEITH REED, LISA DOLENCE,                 Case No. 5:19-cv-00263-JPB
 ELIZABETH SCHENKEL, EMILY WINES,
 MARK GARAN, CHRISTINA LUCAS, and          Judge John Preston Bailey
 AUGUST ULLUM, individually and on
 behalf of others similarly situated,      CLASS ACTION

                       Plaintiffs,
        v.

 ALECTO HEALTHCARE SERVICES LLC,
 and ALECTO HEALTHCARE SERVICES
 WHEELING, LLC d/b/a OHIO VALLEY
 MEDICAL GROUP and d/b/a OVMC
 PHYSICIANS,
                  Defendants.




   APPENDIX TO PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
                  MOTION FOR SUMMARY JUDGMENT




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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF WEST VIRGINIA

 KEITH REED, LISA DOLENCE,                        Case No. 5:19-cv-00263-JPB
 ELIZABETH SCHENKEL, EMILY WINES,
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 MEDICAL GROUP and d/b/a OVMC
 PHYSICIANS,
                  Defendants.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing APPENDIX TO

PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR

SUMMARY JUDGMENT was filed with the Clerk of Court using the Court’s CM/ECF

system, which will send notifications of such filing to the following:

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                                  10171




                                         Respectfully submitted,


                                         /s/Bren Pomponio
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